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                        UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

United States of America

v.                                               Case Number: 4:20−cv−03256

$90,150.00, et al.



                               NOTICE OF RESETTING

A proceeding has been set in this case as set forth below.

Before the Honorable Andrew S Hanen
PLACE:
Courtroom 9C
United States District Court
515 Rusk Street
Houston, TX 77002


DATE: 12/17/2021
TIME: 10:00 AM
TYPE OF PROCEEDING: Motion Hearing
RE: Notice of Setting − #25


Date: November 24, 2021                                      Nathan Ochsner, Clerk
